EXHIBIT 20
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS




 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER, et al.,                             Case No. 1:25-CV-10910-ADB

                        Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE, et al.

                        Defendants.



                           DECLARATION OF PAIGE WILLIAMS

I, Paige Williams, hereby declare as follows:

       1.      I am a Senior Lecturer in the Department of Biostatistics at the Harvard T.H. Chan

School of Public Health (“HSPH”). I was previously the Director of Graduate Studies for the Har-

vard PhD Program in Biostatistics (2015-2021). I joined the Harvard University faculty initially as

an Assistant Professor in 1991 and was promoted to Associate Professor in 1996. In 2001, I was

appointed as Senior Lecturer on Biostatistics.

       2.      I earned my B.S., M.S. and PhD in Biostatistics from the University of North Caro-

lina at Chapel Hill in 1983, 1984, and 1990, respectively.

       3.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       4.      My research focuses on design and analysis of cohort studies, particularly on those

evaluating health outcomes in pregnant women and their children. My HIV-related research
focuses on statistical methods for the evaluation of health outcomes in children born to mothers

with HIV and exposed in utero to antiretroviral agents, such as adverse birth outcomes, growth,

and neurobehavioral functioning. My work in environmental epidemiology complements my HIV-

related work, focusing on the reproductive and child health outcomes associated with prenatal

exposures to endocrine-disrupting chemicals.

       5.      My work has been published in the New England Journal of Medicine, the Journal

of the American Medical Association, Lancet, Environmental Health Perspectives, Epidemiology, Amer-

ican Journal of Epidemiology, and numerous other peer-reviewed journals, particularly those address-

ing HIV-related and environmental research topics.

       6.      I am a member of the American Association of University Professors (“AAUP”)

and AAUP–Harvard Faculty Chapter.

       7.      I am aware that the current administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. I am aware that officials from the Trump admin-

istration sent a letter to Harvard on April 3, 2025, including a long list of demands and insisting

on particular reforms (the “April 3 Letter”). I am aware that this was followed by a subsequent

letter from Trump administration officials on April 11, 2025 with more detailed demands that

“incorporate[d] and supersede[d] the terms” of the April 3 Letter and which the Trump administra-

tion proposed would serve “as the basis for an agreement in principle that will maintain Harvard’s

financial relationship with the federal government” (the “April 11 Letter,” and together with the




                                                 2
April 3 Letter, the “Demand Letters”). Both of the Demand Letters were made public. I have read

the demands listed in the Demand Letters.

       8.       I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2.2 billion in federal grants to Harvard University. I understand that the federal gov-

ernment has since refused to disburse funds obligated to these grants despite receiving requests

from Harvard University to do so.

       9.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard, although I did not receive the notice of termination of my own

grants until May 15, 2025. I am aware that on May 9, 2025, the Department of Agriculture termi-

nated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy, Depart-

ment of Defense, the National Science Foundation, and the Department of Housing and Urban

Development each terminated their grants to Harvard. Letters communicating each of these termi-

nations were made public, and I have read all of the letters.

       10.     I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American universi-

ties and making a range of threats about how the federal government intended to use its authority

to impose numerous demands specifically on Harvard University.

       11.     I am aware that the Trump administration threatened to cancel $400 million in fed-

eral grants and contracts to Columbia University. Despite Columbia University promptly agreeing

to implement many changes after these announced funding cuts and their capitulation to the Trump

administration’s demands, the Trump administration has not restored Columbia’s federal funding.



                                                 3
This action has created an environment of fear and uncertainty among myself and my colleagues

at Harvard University.

       12.     I am aware that Harvard University has pledged $250 million in one-time stopgap

funding to replace some of the over $2.2 billion in terminated funds. That amount is far from

sufficient to replace the terminated funds for HSPH, which alone typically receives around $200

million in federal funding annually.

Research Funding

       13.     Approximately ninety percent of my salary comes from research grants, all of

which are funded by NIH. Harvard pays the remainder of my salary for my non-research work,

including teaching and advising students, and serving on departmental, HSPH, and university-

wide committees. Federal funding, particularly from NIH, has provided critical support for my

work over the 34 years that I have been a faculty member at Harvard.

       14.     Until the NIH terminated them on May 6, I was one of the Principal Investigators

(“PI”) for two NIH grants based at Harvard. I am also a co-investigator on 4 additional NIH re-

search grants, of which 3 were terminated as well.

       15.     I am the primary PI for the Pediatric HIV/AIDS Cohort Study (“PHACS”), a 20-

year U.S.-based multisite network conducting multiple studies evaluating the effects of antiretro-

viral treatment for mothers with HIV and their children, many of whom are now young adults.

Until the grant was terminated on May 6, PHACS was funded by multiple rounds of five-year

grants from the National Institute of Child Health and Human Development (“NICHD”), a part of

the NIH. Over the last 5-year grant cycle (2020-2025), this would have provided a total of over

$88 million dollars in federal funding.




                                                4
        16.     Funding disbursement for this grant ceased following the Trump administration’s

notice of its suspension of federal government research funding to Harvard on April 14, and I

understand this grant has now been terminated pursuant to the May 6 Letter from NIH. Grant

funding provided salary support for 7 faculty (including myself), 6 senior research scientists, and

over 20 additional staff at Harvard. In addition, the grant supported 24 clinical research sites con-

ducting five different research studies involving about 150 total staff, along with collaborators at

other institutions. The collaborators at other institutions include Protocol Chairs and members of

our Scientific Leadership Committee, along with several early-stage investigators who were

awarded PHACS funding for their research.

        17.     In addition to outright termination, Defendants’ suspension of funding to Harvard

prevented the pre-termination release of carry-over funds to PHACS. Before it was terminated,

this grant was in the fifth year of its fourth cycle of funding. The last year of 20-year grant like this

one typically involves crucial study closure activities like data and specimen submission, docu-

ment archiving, and regulatory compliance for human research activities at the clinical sites, which

require more funding to complete than the routine study participation activities that take place in

the first four years. To prepare for that higher level of spending in year five, we intentionally left

funds from years one through four of this grant unspent. These funds were committed to our project

by NICHD and held there in reserve because we planned to use them in the last year of the five-

year grant to ensure the appropriate closure of the studies. Reserving funds in this way for use in

later years is common practice for researchers who recognize that research expenditures often are

not equally distributed across all years of the grant. For this grant, accessing those unspent funds

in later years requires sponsor approval of a carry-over request. In my experience, these carry-over

requests are generally approved as a matter of course and our previous requests have never been



                                                   5
denied. Even before NIH sent its May 6 Letter to Harvard terminating this and hundreds of other

grants, NICHD had not agreed to release these carry-over funds.

       18.     As the contact PI of PHACS, responsible for communications with all members

involved in the study, I was in charge of facilitating a smooth closeout process for the clinical

research sites. As part of that process, we were set to host a spring network meeting, which is a

gathering of all the clinical sites, researchers, advisory boards, and other members of our commu-

nity. Because this was the final year of a 20-year study, it was a very important event. As a result

of the PHACS grant termination, we were not able to host our final meeting, our early-stage in-

vestigators were not able to present their research findings, and we were unable to express our

gratitude for the contributions of our community over the last 20 years. I am frustrated by my

inability to finish this important work and by the impact that this has on the entire PHACS com-

munity and our research participants.

       19.     I was also the PI of the Health Outcomes around Pregnancy and Exposure to

HIV/ARV, or “HOPE” study, an NICHD-funded multisite cohort study on women with HIV at 13

clinical research sites around the country. This grant would have provided about $14.5 million in

federal funding over 5 years and entered its final year of funding in March 2025. Grant funding

provided salary support for 4 PIs and the equivalent of 6 additional full-time staff members. In

addition, the grant supported 13 clinical research sites and their staff at other institutions which

enrolled women into HOPE and conducted study visits, along with members of a Community

Advisory Board who provided input to the study based on their lived experiences.

       20.     NICHD never issued funding for the fifth year, so we instructed our clinical sites

that they would not be able to submit invoices for any additional expenses. Because of funding

shortages, we have had to lay off one HOPE staff member and furlough 3 additional HOPE staff



                                                 6
members. In addition, none of our 13 clinical sites were able to perform any close out activities

after Defendants terminated the HOPE grant, and we were unable to provide them with funding

required for human subjects research. As a result, we stand to lose a significant amount of data

gathered in the last four years of the study and were unable to provide our voluntary study partic-

ipants and our Community Advisory Board members the dignified closeout proceedings they de-

serve. I feel particularly responsible for ensuring compliance with federal regulations as the contact

PI of PHACS and am frustrated that we cannot facilitate proper closeout for our research partners.

       21.     The loss of funding to both PHACS and HOPE has already been devastating for

our research program evaluating antiretroviral treatment effects on health outcomes in women,

children, and young adults with HIV and with HIV exposure during gestation. In particular, the

Trump administration’s failure to disperse funding for both grants in their last year will result in a

loss of public access to valuable data collected on our voluntary study participants. The loss of

funding also hurts the studies and career prospects of our graduate and PhD students, with whom

I work closely across both grants: they lose the opportunity to conduct high-impact collaborative

research without federal funding and I, as a researcher, lose the opportunity to collaborate with, to

educate, and ultimately to learn from them and benefit from the contributions they will make to

our field. Given the broad scope of our research and the need to fund many clinical research sites

across the United States, securing sufficient private funding will be virtually impossible.

       22.     The cessation of HOPE study funding and required discontinuation of its study ac-

tivities have also had an enormous impact on our study participants, who are women living with

HIV. There remains an unfortunate stigma attached to HIV. As HIV researchers, we rely on the

willingness of our study participants to share openly some of the most vulnerable and challenging

aspects of their lives. Our work thus depends on a foundation of trust between us and the



                                                  7
participants we work with, and many of our participants have expressed that they feel we betrayed

the commitment we made to better understand their health conditions when we abruptly ceased

study activities. I believe the Trump administration’s funding terminations will impede my ability

to recruit participants into all types of research in the future even if funding were restored because

I and many other researchers have had to abruptly terminate so many studies in the United States

with little to no explanation to participants.

        23.     At a larger scale, I believe that the sudden termination of longtime clinical research

sites will create negative downstream effects on clinical research in the future. Future studies en-

rolling voluntary participants, particularly those who study chronic and stigmatized health condi-

tions, are not as likely to want to participate in similar longitudinal studies due to feelings of be-

trayal and frustration with the sudden termination and lack of closure of a twenty-year relationship.

Losing the data arising from such studies would be devastating for the entire scientific community

and for the many Americans whose lives would be forever improved by scientific breakthroughs.

        24.     Because PHACS was in the last year of its current grant, I recently submitted a

competitive application to NICHD for new funding involving issues of health disparities in people

with HIV for the next PHACS grant cycle. However, I believe it is nearly impossible for us to

receive funding because Defendants have clearly stated that they will not provide Harvard any

federal grants and because the Trump administration has deemed research involving health dispar-

ities inconsistent with its priorities. Thus, I am very nervous about NICHD accepting my new

application and funding my research and the impact that failing to receive funding would also have

on the team of researchers included as collaborators, both at Harvard and many other institutions.

Even if this funding is secured, the broken relationships between us and our voluntary study




                                                  8
participants will be nearly impossible to mend, and we would need to expend significant resources

to re-engage with the clinical research sites after their abrupt closeouts.

        25.     My own faculty position at Harvard is no longer secure: I am not a tenured profes-

sor, and the PHACS and HOPE grants together cover about 70 percent of my salary. My employ-

ment contract with Harvard provides that the university would “ordinarily” cover my salary for 12

months if I lost funding, but I am concerned the university will no longer honor that agreement

because Defendants terminated all federal grants to Harvard. In any event, I would not be able to

keep my position beyond that one-year extension without federal funding.

        26.     I worry also about the impact of our grant termination on more junior and non-

tenured colleagues: the cessation of funding and loss of their positions will be even more devas-

tating given their career stage and family responsibilities.

        27.     We have already lost 4 PHACS staff members to other jobs because of the job

insecurity created by the Trump administration’s termination of funding to Harvard. I also serve

as an advisor to our 7 senior research scientists, who are non-tenured academic appointments.

Many of these research scientists have worked at Harvard for over a decade and have dedicated

their careers to the university. Due to the funding termination, their positions at Harvard are not

guaranteed past July 2025 and two of them will be forced into early retirement.



I declare under penalty of perjury under the laws of the United States of America that the forego-

ing is true and correct.


  Dated: June 2, 2025                   Signed:

                                               Paige L. Williams, PhD
                                               Senior Lecturer on Biostatistics
                                               Harvard T.H. Chan School of Public Health

                                                  9
